Filed 8/23/24 Sigmund v. Darlington Villas Homeowners Assn. CA2/2
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.



IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION TWO

 TERESIJA SIGMUND,                                            B324761

           Plaintiff and Appellant,                           (Los Angeles County
                                                              Super. Ct. No. SC125743)
           v.
                                                              ORDER MODIFYING
 DARLINGTON VILLA HOME                                        OPINION AND
 OWNERS ASSOCIATION,                                          DENYING REHEARING
 INC., et al.,
                                                              NO CHANGE IN THE
      Defendants and                                          JUDGMENT
 Respondents.




THE COURT:
It is ordered that the opinion filed herein on August 1, 2024, be
modified as follows:

         1. On page eight, in the first full paragraph, after the
            clause ending “mandatory settlement conference the
   trial judge had presided over,” add the following footnote
   (and renumber the subsequent footnotes accordingly):

      2      In her petition for rehearing, plaintiff asserts
      that the trial court did not rely on its observations
      from the settlement conference. Plaintiff’s assertion
      is inconsistent with the record.

2. On page sixteen, in the last paragraph, before the
   sentence beginning “Plaintiff is correct,” add the
   following sentence:

      The trial court’s failure to adhere to the terms of the
      rule, plaintiff concludes, is reversible per se, thereby
      rendering any balancing of interests irrelevant.

3. On page sixteen, in the sentence beginning “But she is
   incorrect,” add the following footnote after the clause
   ending “relationship with Rodriguez as it unraveled”
   (and renumber the subsequent footnotes accordingly):

      4      Contrary to what plaintiff asserts in her
      petition for rehearing, we cite to plaintiff’s awareness
      of the deterioration of her relationship with
      Rodriguez to illustrate that she had actual, advance
      notice of the breakdown (rather than to impose a
      duty upon clients to determine when their attorney
      intends to withdraw).

4. On page seventeen, in the sentence beginning “This is




                           2
   why the court,” add the word “formal” between
   “requiring a” and “noticed motion,” so that the full
   sentence reads:

      This is why the court in Marriage of Tara, supra, 99
      Cal.App.5th 871 explicitly rejected the argument that
      failure to strictly comply with the rule of court
      requiring a formal noticed motion for a trial
      continuance—rule 3.1332—invalidates an order
      granting permission to withdraw.

5. On page eighteen, at the end of the first sentence of the
   last paragraph, ending “underlying its discretionary
   decision,” add the following footnote (and renumber the
   subsequent footnotes accordingly):

      5      Plaintiff is wrong when she argues in her
      petition for rehearing that we improperly based our
      substantial evidence review on inadmissible
      evidence—namely, declarations by defense counsel
      who witnessed the breakdown between plaintiff and
      Rodriguez. Although plaintiff objected to these
      declarations in the new trial proceeding, the trial
      court overruled those objections and plaintiff did not
      offer any legal analysis challenging the trial court’s
      rulings in either her opening or reply briefs on
      appeal. (Cahill v. San Diego Gas &amp; Electric Co.
      (2011) 194 Cal.App.4th 939, 956 [argument is
      “‘“waived”’” if the appellant “‘“fails to support it with
      reasoned argument and citations to authority”’”].)




                            3
6. On page twenty, after the clause “Fifth and finally,” add
   the following footnote (and renumber the subsequent
   footnotes accordingly):

      7     For the first time in her petition for rehearing,
      plaintiff argues that she was wrongly denied new
      counsel to represent her during the in camera
      hearing regarding Rodriguez’s withdrawal motion.
      This argument is waived because it was not raised
      previously. Further, plaintiff cites no authority for
      the proposition that she is entitled to hire counsel to
      represent her in a hearing to assess whether her
      current counsel’s request to withdraw should be
      granted.

7. On page twenty, in the second sentence of the last
   paragraph, replace “‘whether the lack of representation
   affected the result,’” with “‘if it is reasonably probable
   that [plaintiff] would have achieved a more favorable
   result in the absence of the error’” and change the
   pincite in the citation to Marriage of Tara to “at p. 888,”
   so that the full sentence and citation read:

      In assessing prejudice, we ask “if it is reasonably
      probable that [plaintiff] would have achieved a more
      favorable result in the absence of the error.”
      (Marriage of Tara, supra, 99 Cal.App.5th at p. 888; In
      re Malcolm D. (1996) 42 Cal.App.4th 904, 921
      (Malcolm D.).)




                           4
8. On page twenty-one, at the end of the first paragraph,
   after the citation to Walker v. State Bar but before the
   period and closing parentheses, add a semi-colon and
   “Roa v. Lodi Medical Group, Inc. (1985) 37 Cal.2d 920,
   925 [recognizing a ‘constitutional due process guarantee’
   ‘to be represented by retained counsel in civil actions’],”
   so that the full citation sentence reads:

      (Marriage of Tara, supra, 99 Cal.App.5th at pp. 887-
      888; Walker v. State Bar (1989) 49 Cal.3d 1107, 1116
      [“no due process right to counsel in civil cases”]; Roa
      v. Lodi Medical Group, Inc. (1985) 37 Cal.3d 920, 925
      [recognizing a “constitutional due process guarantee”
      “to be represented by retained counsel in civil
      actions”].)

9. On page twenty-one, at the end of the first paragraph,
   after the above-inserted citation, add the following
   sentence:

      What is more, we have concluded that the trial court
      had ample basis to find that plaintiff had actual,
      though not formal, advanced notice, so there was no
      due process violation.

10. On page twenty-one, in the first sentence of the
   second paragraph, add “that it was reasonably probable”
   after “her burden of showing,” and replace “was
   reasonably likely to have altered the outcome” with




                           5
  “would have achieved a more favorable result for her,” so
  that the full sentence reads:

     Plaintiff has not carried her burden of showing that it
     was reasonably probable that having Rodriguez or
     any other counsel represent her for the remainder of
     the second phase of trial would have achieved a more
     favorable result for her.

11. On page twenty-two, in the sentence beginning “On
   this record,” add “otherwise” between “or” and
   “rendered,” so that the full sentence reads:

     On this record, plaintiff has not shown that the
     absence of counsel and the denial of a continuance
     made a determinative difference or otherwise
     rendered the trial fundamentally unfair. (Malcolm
     D., supra, 42 Cal.App.4th at p. 921.)

12. On page twenty-two, in the sentence beginning “In
   arguing she was prejudiced,” add “categories of” between
   “seven” and “ways,” so that the full sentence reads:

     In arguing she was prejudiced, plaintiff lists seven
     categories of ways in which being self-represented
     differed from what counsel might have done in
     representing her during the remainder of the trial.

                    *     *     *




                          6
There is no change in the judgment.

Appellant’s petition for rehearing is denied.




——————————————————————————————
ASHMANN-GERST, Acting P. J. CHAVEZ, J. HOFFSTADT, J.




                                 7
Filed 8/1/24 Sigmund v. Darlington Villas Homeowners Assn. CA2/2 (unmodified
opinion)
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.



IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION TWO

 TERESIJA SIGMUND,                                            B324761

           Plaintiff and Appellant,                           (Los Angeles County
                                                              Super. Ct. No. SC125743)
           v.

 DARLINGTON VILLAS
 HOMEOWNERS
 ASSOCIATION, INC., et al.,

      Defendants and
 Respondents.


     APPEAL from a judgment of the Superior Court of Los
Angeles County, Rafael A. Ongkeko, Judge. Affirmed.

     Bahar Law Office and Sarvenaz Bahar for Plaintiff and
Appellant.
      Murchison &amp; Cumming, Gina E. Och, Matthew E. Voss;
Law Offices of Scott C. Stratman and Marcia E. Cook; Koletsky,
Mancini, Feldman &amp; Morrow and Roy A. Koletsky; McGlinchey
Stafford and Michelle M. McCliman for Defendants and
Respondents.

                             *    *      *
       Midway through a bifurcated civil trial before a jury, the
plaintiff’s attorney asked to withdraw from representation when
the deteriorating relationship with his client completely broke
down. The trial court granted the attorney’s request, and denied
the plaintiff’s request to continue the trial. The plaintiff
represented herself for the remainder of the trial. The jury
ultimately found for the plaintiff on one of her claims but
awarded no damages; the jury found for the defendants on her
remaining claims. On appeal, the plaintiff argues that the court
erred in allowing her attorney to withdraw without continuing
the trial, and that the defendants’ counsel committed misconduct.
These claims lack merit, so we affirm.
         FACTS AND PROCEDURAL BACKGROUND
I.     Facts
       A.     The condo building and its homeowners
association
       Teresija Sigmund (plaintiff) purchased a condominium in a
four-unit building in the Brentwood neighborhood of Los Angeles
in 2004. Plaintiff’s condo is on the second floor of the building
and consists of two sub-units—specifically, a three-bedroom unit
and a separate mother-in-law studio unit behind it.
       Starting in 2006, Tisha Bennett (Bennett) owned the condo
unit next door to plaintiff, but has not resided in the unit since




                                2
2011. From 1997 to 2014, Nancy Wortman (Wortman) owned the
condo unit beneath Bennett’s.
       The owners of the four units in the building—including, at
various times, plaintiff, Wortman, and Bennett—made up the
members of the building’s homeowners association, called the
Darlington Villas Homeowner’s Association, Inc. (the
Association). At times pertinent to this case, Bennett served as
president of the Association and Wortman, as treasurer.
       B.     Plaintiff’s unneighborly conduct
       From when she bought her condo in 2004 through the 2022
trial in this case, plaintiff violated numerous provisions of the
Association’s covenants, conditions, and restrictions (CC&amp;Rs).
She violated the restrictions on subletting by regularly renting
out the larger, front unit on Airbnb to multiple renters on a per-
night basis like a “modern-day hostel.” She violated the
restrictions on maintaining her unit and the common areas by
leaving piles of her personal belongings and rubbish in the
common areas, hallways, and parking garage; the local fire
department cited plaintiff’s buildup of debris as a “fire hazard.”
She violated the restrictions on cooperation by refusing the
Association access to her mother-in-law unit to fix plumbing
problems, which led to water leaking into the building’s electrical
room as well as into the condo unit directly below plaintiff’s.
Bennett “fle[d]” her unit in 2011 out of concerns for her “safety”
in living next door to plaintiff; she did not ever return to reside
there.
       C.     Plaintiff’s nonpayment of Association dues
       In 2010, plaintiff stopped paying her monthly Association
dues; she also failed to pay the Association’s assessments for
maintenance and repairs to the building dating back to 2005.




                                 3
Plaintiff’s failure to pay placed a financial strain on the
Association given its small membership. When the Association
could not meet its obligations such as paying large utility bills,
Wortman—as treasurer—used her own personal funds to cover
the shortfall and then reimbursed herself by using Association
funds to pay for her personal bills, like for Netflix. Wortman
tracked these finances using “Microsoft Money” software, and
turned those records over to the Association when she moved out
of the building in 2014.
II.    Procedural Background
       A.     The Association initiates foreclosure
proceedings
       In the spring of 2015, the Association initiated a
nonjudicial foreclosure proceeding against plaintiff’s condo due to
her unpaid bills to the Association. As of May 2017, plaintiff
owed a total of $58,196.50 in unpaid monthly dues, special
assessments, fines for violations of the CC&amp;Rs, and interest.
       B.     Plaintiff responds with a lawsuit
       Within a year of the Association’s initiation of nonjudicial
foreclosure, plaintiff in April 2016 sued the Association,
Wortman, and Bennett (collectively, defendants).1 In the
operative third amended complaint that plaintiff filed while self-
represented, she alleged claims for (1) breach of the CC&amp;Rs, (2)
breach of fiduciary duty, (3) civil extortion, (4) intentional


1     Plaintiff later added S.B.S. Lien Services—the collection
agency in the foreclosure—as a defendant, but it did not
participate in the case because it filed a notice of nonmonetary
status.
      Bennett cross-complained against plaintiff for indemnity,
but later voluntarily dismissed her cross-complaint.




                                 4
infliction of emotional distress, (5) negligence, (6) injunctive
relief, (7) declaratory relief, (8) accounting, (9) private nuisance,
and (10) conversion. By and large, these claims rested on
assertions plaintiff had never mentioned prior to the litigation—
namely, that (1) her condo unit had been experiencing water
damage since 2006, when the Association repaired part of the
roof but not the part above her unit; (2) access to her unit was
impermissibly blocked by a security door Bennett had installed to
protect herself from the nightly influx of plaintiff’s renters who
often caused altercations that necessitated police intervention;
and (3) Wortman had misappropriated Association funds for her
own benefit. Plaintiff also asserted that the Association’s
nonjudicial foreclosure proceeding was “illegal” and “retaliatory”
because it was filed in response to her criticisms of Bennett and
Wortman’s improper management of the Association.
       C.     The parties settle the nonjudicial foreclosure
proceeding
       A trustee’s sale of plaintiff’s condo was set for October 17,
2016. Although the trial court initially granted plaintiff’s ex
parte application for a temporary restraining order to stop the
sale, the court subsequently issued a tentative ruling in August
2017 indicating an intent to deny a preliminary injunction
because most of plaintiff’s arguments were “unsupported by
adequate evidence or legal authority.”
       On the same day the tentative ruling was issued, the
Association and plaintiff—who at that point was represented by
counsel—signed a settlement agreement to resolve “the
assessments, fines, late charges and interest” that the
Association had issued “through and including August 2017” (the
foreclosure settlement). Under the foreclosure settlement, the




                                  5
Association agreed “not [to] proceed with foreclosure,” while
plaintiff agreed to pay a reduced amount of $31,525 in a payment
plan. Except as to the amount plaintiff “owed through an[d]
including August 2017,” she did not waive “any other claims”
against the Association. The foreclosure settlement was filed
with the trial court and expressly provided that it is “enforceable
pursuant to” Code of Civil Procedure section 664.6.
      D.     Plaintiff’s attorney-client relationship
deteriorates as trial approaches
      As the trial date approached, plaintiff was represented by
attorney Steven Rodriguez (Rodriguez). He had substituted in to
represent her in May 2021. Rodriguez was plaintiff’s third
lawyer in the case. Her first lawyer had represented her from
April 2016 through February 2018; her second lawyer had
represented her on a “limited basis” from February 2018 through
April 2019; and plaintiff represented herself during “long
stretches” in between, during which periods she handled
depositions, filed motions, and filed pleadings.
      In the weeks leading up to the trial, the parties held
several final status conferences before the trial court. At those
conferences, numerous “attorney/client issues” between
Rodriguez and plaintiff came to light as Rodriguez “report[ed]
generalized descriptions” of his disputes with plaintiff. Those
disputes “escalated” as the trial date neared. At one point,
Rodriguez shared that plaintiff “went sideways” during a case
strategy discussion and that he might need “to seek to withdraw.”
At another point, Rodriguez relayed that he had sought outside
legal advice regarding his professional duties due to the issues
with plaintiff. Rodriguez nevertheless endeavored to continue




                                6
the representation, “inform[ing] courtroom staff” on January 18,
2022 that he was not “substituting out of the case.”
       E.     The parties proceed to trial
       The parties proceeded to a jury trial in February 2022 that
was bifurcated into two phases.
              1.     Phase 1
       The first phase was limited to asking the jury whether the
damage arising from the partial roof repair in 2006 was outside
the statute of limitations, or whether the defective repair
constituted a continuing nuisance that was still actionable.
       After four days of trial, the jury found that plaintiff did not
prove a continuing nuisance.
              2.     Phase 2
       The second phase built on the first phase, asking the jury
whether plaintiff proved that any of her remaining claims caused
her damage within the pertinent statute-of-limitations window
(that is, in or after 2013). Due to numerous pretrial and midtrial
rulings, the only claims submitted to the jury were her claims for
breach of fiduciary duty, intentional infliction of emotional
distress, and private nuisance; plaintiff’s remaining equitable
claims for injunctive relief, declaratory relief, and an accounting
were not submitted to the jury.
                     a.   Withdrawal of counsel with no
continuance
       Following opening statements as well as the testimony of
plaintiff and another witness, Rodriguez asked plaintiff to sign a
form consenting to his withdrawal as her attorney, and she
refused to sign it. Rodriguez then made an oral motion to the
trial court seeking to be relieved as counsel due to “a significant
conflict of interest.” Rodriguez divulged that he now avoided




                                  7
being alone with plaintiff without another person present
because he feared plaintiff would falsely accuse him of physically
attacking her. Rodrigeuz also reported that plaintiff’s
“question[ing]” of his “ability to represent her” and of his
“competence” had become a “festering issue.” In response,
plaintiff urged that she “be made co-counsel” so she could “put
evidence on” that Rodriguez was not “letting” her present.
       The court cleared the courtroom for an in camera hearing.
At that hearing, Rodriguez and plaintiff “[went] at it.” On the
basis of its observations, including those made during a
mandatory settlement conference the trial judge had presided
over, the court found there was good cause to allow Rodriguez to
withdraw as counsel. The court then adjourned trial for that day
at 2:15 p.m. to allow plaintiff to secure substitute counsel.
       None of the attorneys plaintiff contacted that afternoon
agreed to represent her, and plaintiff represented herself for the
balance of the second phase of trial. Plaintiff made at least four
additional oral requests for a continuance throughout the second
phase of the trial, each of which the trial court denied. At no
point did plaintiff ask for a mistrial or ask the court to excuse the
jury and start anew.
                    b.    Jury verdict
       After six days of trial in the second phase, the jury
returned a special verdict finding that (1) the Association had
breached a fiduciary duty to plaintiff but that breach did not
cause any damage, and (2) plaintiff had not established any
elements of her remaining two claims.
       After entertaining argument from the parties, the trial
court subsequently found plaintiff’s equitable claims “moot”




                                  8
because they were “necessarily determined” and rejected “in the
jury trial.”
        F.    New trial motion
        Plaintiff—represented by her fourth attorney—moved for a
new trial based on two alleged irregularities in the proceedings:
(1) the trial court’s grant of Rodrigeuz’s motion to withdraw as
counsel without a continuance, and (2) misconduct by defendants’
counsel during the trial.
        After further briefing, the trial court issued an order on
October 14, 2022 denying plaintiff’s new trial motion.
        On the issue of the withdrawal of counsel without a
continuance, the court explained that it would “not have
approved” Rodriguez’s “exit from the case” if the court believed
plaintiff would have been denied a “fair trial,” but “all the
circumstances”—including that the withdrawal request came as
no “surprise”—supported the court’s “discretionary decision” that
Rodriguez “could not continue as [plaintiff’s] trial counsel.” The
court’s denial of a continuance was based on the court’s “balance”
of its “assessment of [plaintiff’s] ability to proceed” given her
“unique,” “hands-on, comprehensive knowledge” of the case
against the “critical issues” of securing a jury during the
pandemic, the ongoing second-phase proceedings, and the
interests of defendants. “Ultimately,” the trial court concluded,
granting plaintiff a continuance would not “have changed the
outcome” of the jury’s verdict because plaintiff was a “very active
participant” who “had a clear plan” for prosecuting her case—
with which her counsel “strongly disagreed.”
        The court “reject[ed]” the misconduct issue as “speculative
and unproven.”




                                 9
       G.     Appeal
       Judgment was entered for defendants, and plaintiff timely
filed this appeal.
                            DISCUSSION
       Plaintiff levels two categories of attacks on appeal. First,
she argues that the trial court erred in permitting Rodriguez to
withdraw as her counsel without granting her a continuance.
Second, she argues that she is entitled to a new trial because
defendants’ counsel engaged in misconduct during the trial.
Neither of plaintiff’s attacks has merit.
I.     Withdrawal of Counsel Without Continuance
       A.     Pertinent law
              1.    Overview
       A litigant’s attorney may withdraw from representation
either (1) with the client’s consent, or (2) by court order “after
notice” to the client. (Code Civ. Proc., § 284; Vann v. Shilleh
(1975) 54 Cal.App.3d 192, 197 (Vann) [“The right of counsel to
withdraw from pending litigation is not absolute”].) A court
deciding whether to grant an attorney’s request to withdraw
must assess (1) whether there is “good cause” for the attorney to
withdraw, and if so, (2) whether withdrawal will result in
“prejudicing the client’s case” and thereby deny the client a fair
hearing. (Ramirez v. Sturdevant (1994) 21 Cal.App.4th 904, 915;
Vann, at p. 197; Kirsch v. Duryea (1978) 21 Cal.3d 303, 310;
Hodcarriers, Building &amp; Common Laborers Local Union v. Miller
(1966) 243 Cal.App.2d 391, 395 (Hodcarriers); Rules of Prof.
Conduct, rule 1.16(d).) A withdrawal lacking good cause
constitutes abandonment of the client. (Ramirez, at p. 915; Vann,
at p. 197.)




                                10
        Because trial continuances are “disfavored,” a party is
entitled to a continuance only if (1) she makes an “affirmative
showing of good cause,” and (2) the court determines that the
balance of “the facts and circumstances”—and the pertinent rule
of court enumerates 11 such circumstances—weighs in favor of a
continuance. (Cal. Rules of Court, rule 3.1332(a), (c) &amp; (d); In re
Marriage of Falcone &amp; Fyke (2008) 164 Cal.App.4th 814, 823
(Marriage of Falcone).) Among others, pertinent circumstances
include (1) “[t]he proximity of the trial date”; (2) “[w]hether there
was any previous continuance, extension of time, or delay of trial
due to any party”; (3) “[t]he length of the continuance requested”;
(4) “[t]he availability of alternative means to address the problem
that gave rise to the motion . . . for a continuance”; (5) “[t]he
prejudice that parties or witnesses will suffer as a result of the
continuance”; (6) “[t]he court’s calendar and the impact of
granting a continuance on other pending trials”; (7) “[w]hether
the interests of justice are best served by a continuance, by the
trial of the matter, or by imposing conditions on the continuance”;
and (8) “[a]ny other fact or circumstance relevant to the fair
determination of the motion or application.” (Cal. Rules of Court,
rule 3.1332(d).) In balancing these circumstances, a court should
not deny a continuance when doing so “‘has the practical effect of
denying the applicant a fair hearing.’” (In re Marriage of
Hoffmeister (1984) 161 Cal.App.3d 1163, 1169.)
        The tests for assessing whether to allow counsel to
withdraw and whether to grant a continuance are similar in
structure because both require a showing of good cause and a
balancing of pertinent factors.
              2.    Good cause
        Each test requires a threshold showing of “good cause.”




                                 11
       “Good cause” to permit a withdrawal of counsel exists when
there has been a breakdown in the relationship between attorney
and client. (Estate of Falco (1987) 188 Cal.App.3d 1004, 1014
(Falco); Aceves v. Superior Court (1996) 51 Cal.App.4th 584, 591-
592 (Aceves); People v. Cohen (1976) 59 Cal.App.3d 241, 249; In re
Marriage of Tara &amp; Robert D. (2024) 99 Cal.App.5th 871, 875-876
(Marriage of Tara); see Rules of Prof. Conduct, rule 1.16(b)(4) [“a
lawyer may withdraw from representing a client if . . . the client
by other conduct renders it unreasonably difficult for the lawyer
to carry out the representation effectively”]; cf. Vann, supra, 54
Cal.App.3d at p. 197 [counsel’s annoyance at client; not good
cause]; People v. Murphy (1973) 35 Cal.App.3d 905, 921 [counsel’s
“personal” “considerations”; not good cause].) A breakdown may
be established by the client’s admission (Marriage of Tara, at pp.
875-876) or by the attorney’s representation that such a
breakdown exists (Aceves, at p. 592). Who is at fault for the
breakdown does not matter. (Marriage of Tara, at p. 881; Falco,
at p. 1014.)
       “Good cause” to grant a continuance exists, as pertinent
here, when “trial counsel” is “unavailab[le]” due to “excusable
circumstances.” (Cal. Rules of Court, rule 3.1332(c)(3); Marriage
of Tara, supra, 99 Cal.App.5th at p. 881 [“Losing counsel shortly
before trial often constitutes good cause for a continuance”].)
             3.     Balance of pertinent factors
       The second step of each test calls upon the trial court to
balance various factors to assess whether, at the end of the day,
the grant of a withdrawal motion or the denial of a continuance
motion will end up depriving the client of a fair hearing.
       In assessing whether granting a withdrawal motion or
denying a continuance will deny a client a fair hearing, courts




                                12
generally adhere to the maxim that forcing a client to trial
without counsel “is not likely to ensure fairness” because it risks
that the case will not be tried upon its merits. (Hernandez v.
Superior Court (2004) 115 Cal.App.4th 1242, 1244; Au-Yang v.
Barton (1999) 21 Cal.4th 958, 963 [“‘[t]he policy of the law is to
have every litigated case tried upon its merits’”].) However, this
likelihood of unfairness is reduced or eliminated when (1) the
client has had “sufficient advance warning” of the attorney’s
intent to withdraw (Vann, supra, 54 Cal.App.3d at p. 197), (2) the
client wishes to act as her own attorney (id. at p. 198), (3) the
client has demonstrated an ability to represent herself, or (4) the
client seeks only a very short continuance (cf. Marriage of Tara,
supra, 99 Cal.App.5th at p. 874). The fairness consideration is
not the only consideration, however. Although “efficiency” of trial
proceedings “is not an end in itself” (Hernandez, at p. 1246; Weiss
v. People ex rel. Dept. of Transportation (2020) 9 Cal.5th 840, 866
(Weiss)), courts must also examine and “weigh[]” the “competing
interests” “that would be adversely affected by a delay in the
proceedings” (Marriage of Tara, at p. 874; Hernandez, at pp.
1246-1247).
             4.     Standard of review
       Because the decision whether to allow counsel to withdraw
and to deny a continuance turn chiefly on a balancing of
competing factors, we review a trial court’s rulings on each for an
abuse of discretion.2 (Falco, supra, 188 Cal.App.3d at p. 1014


2     To the extent we are reviewing the trial court’s denial of
plaintiff’s new trial motion rather than the court’s initial ruling
allowing Rodriguez to withdraw and denying plaintiff a
continuance, we also review the new trial ruling for an abuse of
discretion. (Code Civ. Proc., § 657, subd. (1) [ground for new trial




                                 13
[withdrawal of counsel]; Marriage of Falcone, supra, 164
Cal.App.4th at p. 823 [continuances].) A trial court abuses its
discretion when its ruling “‘exceed[s] the bounds of reason’”
(Gamet v. Blanchard (2001) 91 Cal.App.4th 1276, 1283 (Gamet))
or when it fails to balance the pertinent factors and instead relies
on a blanket rule of “no continuances” (Marriage of Tara, supra,
99 Cal.App.5th at pp. 874, 881-882; Vann, supra, 54 Cal.App.3d
at pp. 195, 198-199; Oliveros v. County of Los Angeles (2004) 120
Cal.App.4th 1389, 1395).
       B.     No error in allowing counsel to withdraw and
in denying continuance
       The trial court did not abuse its discretion in finding “good
cause” to allow Rodriguez to withdraw as counsel or in implicitly
finding “good cause” to grant a continuance. With respect to the
withdrawal of counsel, Rodriguez represented that his
relationship with plaintiff had become so toxic that he feared
plaintiff would falsely accuse him of the crime of assault and
battery. This representation alone is sufficient to establish the
breakdown of their relationship. (Aceves, supra, 51 Cal.App.4th
at p. 592.) Further, the court observed Rodriguez and plaintiff
“go at it” in court, which further corroborates Rodriguez’s
representation. With respect to a continuance, the trial court’s
grant of the withdrawal motion left plaintiff’s attorney
“unavailab[le]” due to “excusable circumstances”; this constituted
“good cause” for a continuance. (Cal. Rules of Court, rule
3.1332(c)(3).)
       The trial court also did not abuse its discretion in balancing
the pertinent circumstances in coming to the conclusion that

includes “any order of the court or abuse of discretion by which
either party was prevented from having a fair trial”].)




                                 14
plaintiff would not be denied a fair trial if required to proceed
without representation and without a continuance. Implicit in
the general maxim that forcing a client to trial without counsel is
“not likely to ensure fairness” is that this scenario does not
inevitably lead to unfairness. Here, the trial court had sufficient
basis for concluding it would not in this case. Given the ever-
spiraling rancor between plaintiff and Rodriguez on display in
the weeks leading up to Rodriguez’s motion, plaintiff had
“sufficient advance warning” that her relationship with
Rodriguez was headed toward a breakdown. (Accord, Outdoor
Services, Inc. v. Pabagold, Inc. (1986) 185 Cal.App.3d 676, 686
[client’s “problems” with counsel provided “ample time to obtain
other representation”; upholding denial of continuance].)
Although plaintiff maintained that she did not want to represent
herself, she consistently insisted that she wanted to share the
reins of representation as “co-counsel”—both with Rodriguez and
with her potential new counsel; given plaintiff’s demonstrated
ability to represent herself in the interregnum periods between
her prior counsels’ representations as well as her insistence
during the trial for Rodriguez to elicit certain evidence, the trial
court had an ample basis for concluding that requiring plaintiff to
proceed without a longer continuance would not deny her a fair
trial. (Cf. Urethane Foam Experts, Inc. v. Latimer (1995) 31
Cal.App.4th 763, 766-767 (Urethane) [client’s nonparticipation
subjected client to default judgment]; Severson &amp; Werson, P.C. v.
Sepehry-Fard (2019) 37 Cal.App.5th 938, 948 [client is wholly
absent from trial].) On the other side of the ledger, this issue
arose in the middle of trial when a jury had been empaneled and
time-qualified. Continuing the trial beyond the brief continuance
the court granted plaintiff would have necessarily resulted in a




                                15
mistrial, a result plaintiff indicated she did not want. At no point
did the trial court articulate that it was adhering to a blanket
rule against continuances; because the court considered and
weighed a variety of factors—articulated most ably in its new
trial motion—the court did not abuse its discretion.
       Plaintiff resists this conclusion with a veritable plethora of
arguments that we have sorted into five buckets.
       First, she argues that the trial court was powerless to grant
Rodriguez’s motion to withdraw as counsel because Rodriguez’s
motion was oral rather than on the specified Judicial Council
form, because Rodriguez did not give 16-day advance notice for a
hearing on the specified Judicial Council form, and because the
court’s ruling was not set forth on the specified Judicial Council
form—all as the Rules of Court required. (Cal. Rules of Court,
rule 3.1362.) Plaintiff is correct that the Rules of Court are
mandatory. (Weiss, supra, 9 Cal.5th at p. 864; In re Marriage of
Steiner &amp; Hosseini (2004) 117 Cal.App.4th 519, 524; Villa v.
Superior Court (1981) 124 Cal.App.3d 1063, 1065.) But she is
incorrect that noncompliance with those rules necessarily voids
the court’s action, at least where—as here—plaintiff had actual
advance notice of the breakdown of her relationship with
Rodriguez as it unraveled, Rodriguez made his oral motion in
plaintiff’s presence, and the court issued its oral ruling in
plaintiff’s presence. (Steiner, at p. 524 [noncompliance with rules
“‘is not reversible error unless prejudice is shown’”]; cf. Urethane,
supra, 31 Cal.App.4th at pp. 766-767 [corporate party not advised
it could participate only through attorney, and lost right to
participate]; Lee v. An (2008) 168 Cal.App.4th 558, 564-565 (Lee)
[party not given notice of termination sanctions, and such
sanctions issued]; Gamet, supra, 91 Cal.App.4th at pp. 1285-1286




                                 16
[party never notified that its counsel had been relieved as
counsel]; Estate of Buchman (1954) 123 Cal.App.2d 546, 559
[party never given a hearing before executor was removed].) This
is why the court in Marriage of Tara, supra, 99 Cal.App.5th 871explicitly rejected the argument that failure to strictly comply
with the rule of court requiring a noticed motion for a trial
continuance—rule 3.1332—invalidates an order granting
permission to withdraw. (Id. at p. 879.) That is a correct reading
of the law. What is more, we decline to deprive trial courts of any
and all discretion to allow counsel to withdraw absent a 16-day
noticed motion, as such a rule could require a client to keep
working with a lawyer who is emotionally or even physically
abusive to that client (or vice versa) during that interim period.
Indeed, plaintiff’s counsel acknowledged at oral argument that
trial courts have some authority to depart from a rule of court’s
absolute time limits as long as the court accords parties adequate
notice, and we have concluded that such adequate, advance
notice existed here.
       Second, plaintiff argues that there was insufficient
evidence of a breakdown, and hence no “good cause” to grant
Rodrigeuz’s motion to withdraw. Specifically, she argues that (1)
she and Rodriguez simply disagreed over trial strategy rather
than had a full breakdown in their relationship; (2) the timing of
Rodriguez’s request to withdraw (when he was having personal
issues with his estranged spouse) suggests that his reasons for
withdrawing were personal and that he was lying when he
reported a breakdown in his relationship with plaintiff; (3) their
relationship could not be that irreparably damaged if, as the trial
court noted, Rodriguez was competently representing plaintiff up
until the time he asked to withdraw and they had had some




                                17
disagreements in the past; (4) the court did not ask plaintiff for
her side of the story or further question Rodriguez about the
nature of the breakdown; and (5) the court erred in finding
Rodriguez to be credible.
       By and large, these arguments ask us to reweigh the
evidence and reassess credibility, when our task is simply to ask
whether substantial evidence supports the trial court’s factual
findings underlying its discretionary decision. (Shoen v. Zacarias
(2019) 33 Cal.App.5th 1112, 1118-1119; In re Caden C. (2021) 11
Cal.5th 614, 640 (Caden C.) [reviewing court may not “‘evaluate
the credibility of witnesses’”].) At oral argument, plaintiff argued
that Hodcarriers, supra, 243 Cal.App.2d 391 stood for the
proposition that a preexisting conflict between lawyer and client
cannot justify a midtrial withdrawal of counsel. Hodcarriers does
not reach so broadly: It held that denial of a midtrial withdrawal
of counsel was not an abuse of the trial court’s “wide latitude”
because “there was no new conflict of interest” at the time of the
request to withdraw. (Id. at p. 395, italics added.) Hodcarriers
does not hold that the existence of any prior conflict compels the
denial of a midtrial request to withdraw. We decline to adopt
such a strict rule, particularly where, as here, any preexisting
conflict over trial strategy metastasized into a more severe and
total breakdown in the attorney-client relationship. In sum, the
evidence set forth above amply supports the trial court’s finding
of a breakdown in the attorney-client relationship, and there is
nothing inconsistent with a relationship that was contentious but
functional and then crossed a line into one that is dysfunctional
and toxic. Also at oral argument, plaintiff argued that Marriage
of Tara, supra, 99 Cal.App.5th 871 obligates trial courts to
question attorneys regarding the factual basis of their




                                18
withdrawal request, and that the trial court’s failure to do so in
this case invalidates its order. Marriage of Tara does not reach
so far. Marriage of Tara faulted the trial court for not
“inquir[ing] about the length of the continuance . . . being
sought,” which made it “impossible to perform the required
balancing analysis.” (Id. at p. 874.) Here, plaintiff faults the
trial court for not asking Rodriguez more questions about the
details of the breakdown between himself and plaintiff. But the
absence of additional details did not make it “impossible to
perform the required balancing analysis” because the court
already had the information it needed—namely, that there was a
total breakdown, when it occurred, and why it occurred. Probing
questions to elicit further details—aside from risking intrusion
into privileged communications—would have been relevant
chiefly to assessing Rodriguez’s credibility, but, as noted above,
precedent allows courts to accept counsel’s representation of
reasons for a withdrawal. (Aceves, supra, 51 Cal.App.4th at p.
592.)
       Third, plaintiff argues the trial court’s good cause finding
as to the withdrawal motion was infected by its improper
consideration of the interactions it observed between plaintiff and
Rodriguez during a pretrial settlement conference. This
argument lacks merit. Not only did plaintiff expressly consent to
having the same judge preside over the trial who also conducted
the settlement conference, but that judge did not at any point
refer to or otherwise indicate the use any confidential
information—which the parties’ stipulation limited to statements
relating to liability or settlement—in evaluating the breakdown
in the attorney-client relationship or the fairness of requiring
plaintiff to proceed without counsel. (Cf. Evid. Code, § 1152




                                19
[barring consideration of settlement negotiations to prove
liability or damages].) Plaintiff’s argument that the court did so
is based on nothing but speculation.3
       Fourth, plaintiff argues that the trial court erred in
permitting Rodriguez to withdraw because he failed to provide
her with a summary of motion in limine rulings, with the status
of witness subpoenas, or with her full case file. These alleged
deficiencies occurred after the court’s ruling, and cannot
retroactively invalidate it.
       Fifth and finally, plaintiff asserts that it was unfair for the
trial court to deny her a trial continuance when the court had
approved certain days off from the trial for Rodriguez and
defendants’ counsel. This is a false equivalency. Rodriguez
ultimately did not need the day off he previously requested, and
defense counsel’s day off was preapproved before the trial even
began. Plaintiff, on the other hand, requested a delay midtrial
when the jury was time-committed to a specific end date.
       C.     Even assuming error, it was not prejudicial
       Even if the trial court abused its discretion in allowing
Rodriguez to withdraw as counsel without granting plaintiff a
continuance, that error did not prejudice plaintiff. In assessing
prejudice, we ask “whether the lack of representation affected the
result.” (Marriage of Tara, supra, 99 Cal.App.5th at pp. 887-888;
In re Malcolm D. (1996) 42 Cal.App.4th 904, 921 (Malcolm D.).)

3     Plaintiff’s related assertion that the record raises “serious
questions about [the trial court’s] impartiality” is equally
speculative, as it seems to rest on nothing more than plaintiff’s
disagreement with the court’s rulings, which does not constitute
bias. (See Brown v. American Bicycle Group, LLC (2014) 224
Cal.App.4th 665, 674; Code Civ. Proc., §§ 170, 170.1, subd. (a),
170.2, subd. (b).)




                                 20
       As a threshold matter, plaintiff asserts that this error is
per se reversible without any need to show prejudice because the
order allowing Rodriguez to withdraw but denying her a
continuance was (1) in excess of the trial court’s jurisdiction, and
(2) a violation of due process. Plaintiff is wrong. Acts in excess of
jurisdiction are not all automatically reversible (Lee, supra, 168
Cal.App.4th at pp. 564-565), and the cases plaintiff cites are all
distinguishable. (Cf. In re Marriage of Kent (2019) 35
Cal.App.5th 487, 495-496 [trial court exceeded statutory mandate
by ignoring a “clear restriction or limitation on [its] power to act”
by ruling on a custody matter despite ongoing, out-of-state
litigation on the same matter]; County of Los Angeles v.
Williamsburg National Ins. Co. (2015) 235 Cal.App.4th 944, 953-
955 [trial court exceeded statutory mandate by refusing to hold a
hearing despite a mandate to do so].) There is also no due
process violation absent a showing that the denial of a
continuance actually prejudiced plaintiff; prejudice is an element
of this type of due process analysis, not a way to leapfrog over the
prejudice inquiry. (Marriage of Tara, supra, 99 Cal.App.5th at
pp. 887-888; Walker v. State Bar (1989) 49 Cal.3d 1107, 1116 [“no
due process right to counsel in civil cases”].)
       Plaintiff has not carried her burden of showing that having
Rodriguez or any other counsel represent her for the remainder of
the second phase of trial was reasonably likely to have altered
the outcome. (Malcolm D., supra, 42 Cal.App.4th at p. 921.)
Plaintiff subpoenaed witnesses, conducted (both direct and cross-)
examinations of witnesses, argued evidentiary issues, defended
against motions, and made a closing argument. Although the
jury did not award her any damages, plaintiff prevailed on her
breach of fiduciary duty claim against the Association. Notably,




                                 21
plaintiff does not claim there was insufficient evidence to support
the jury’s verdict. On this record, plaintiff has not shown that
the absence of counsel and the denial of a continuance made a
determinative difference or rendered the trial fundamentally
unfair. (Malcolm D., supra, 42 Cal.App.4th at p. 921.)
       In arguing she was prejudiced, plaintiff lists seven ways in
which being self-represented differed from what counsel might
have done in representing her during the remainder of the trial.4
However, plaintiff at no point goes on to explain how the
assistance of counsel would have altered the substantive outcome
of the case. (Marriage of Tara, supra, 99 Cal.App.5th at p. 888.)
II.    Defense Counsel Misconduct
       A.    Pertinent facts and procedural background
             1.     Defendants disclose during postverdict hearing
on plaintiff’s equitable claims that “Microsoft Money” records are
inaccessible
       As noted above, after the jury rendered a verdict for
defendants in the second phase of the trial, the parties debated
whether plaintiff was entitled to a bench trial on her equitable
claims for injunctive relief, declaratory relief, and an accounting.
According to plaintiff, she was entitled to pursue her equitable


4      Namely, plaintiff points out that she (1) was up against
three defendants represented by a total of five attorneys; (2) had
to serve as counsel and witness simultaneously; (3) had difficulty
understanding certain legal principles and procedures like
presenting evidence of damages and adhering to motion in limine
rulings; (4) was incapable of making certain arguments to the
trial court that counsel would have, such as about jury
instructions; (5) was unprepared to defend against attacks on her
credibility; (6) did not have full access to her case file; and (7) had
a medical condition that was aggravated by the stress of the trial.




                                  22
claims notwithstanding the jury’s verdict because she was still
challenging the “retaliatory and unfounded” dues, assessments,
and fines that the Association had levied against her. At the
postverdict hearing on this issue, plaintiff argued that before a
trial could be held on her equitable claims, defendants were
obligated to produce the “Microsoft Money” records that Wortman
testified to maintaining as treasurer of the Association. Neither
plaintiff nor any of her prior counsel had requested such financial
records during pretrial discovery and had never deposed
Wortman. Defendants responded that (1) the foreclosure
settlement “subsumed” plaintiff’s equitable claims challenging
the dues, assessments, and fines;5 and (2) “Microsoft Money” was
a “legacy software” that was “no longer technically supported,” so
even if plaintiff had the records, “there’s just . . . nothing that
could [access] them.”
       As noted above, the trial court denied plaintiff a bench trial
on her equitable claims and dismissed those claims as “moot”
because they were “necessarily determined”—and rejected—“in
the jury trial.”
             2.     Plaintiff seeks new trial based on inaccessibility
of “Microsoft Money” records
       Seizing on defendants’ postverdict disclosure that the
“Microsoft Money” records were inaccessible, plaintiff argued in
her new trial motion that defendants had lied to the jury when
representing that plaintiff owed nearly $60,000 to the Association
(because defendants did not have the software to back up that
representation). The trial court rejected this argument as
“speculative and unproven.” The court further explained that

5     At this time, plaintiff was $70,000 in arrears in post-
foreclosure settlement debt owed to the Association.




                                 23
plaintiff “had every opportunity to investigate each amount the
[Association] asserted was owed” and that it would not “go
behind” the foreclosure settlement and the parties’ “decisions to
reach” that agreement “at the time they did and on the terms
they reached.”
       B.    Pertinent law
       A party is entitled to a new trial if, as pertinent here, there
was an “[i]rregularity in the proceedings” before the jury. (Code
Civ. Proc., § 657, subd. (1).) Attorney misconduct can amount to
an irregularity and thus can be a ground for a new trial. (Garcia
v. ConMed Corp. (2012) 204 Cal.App.4th 144, 148, McCoy v.
Pacific Maritime Assn. (2013) 216 Cal.App.4th 283, 303.) It is
misconduct for an attorney to suggest or imply facts not in
evidence or to refer to evidence the trial court excluded. (Jackson
v. Park (2021) 66 Cal.App.5th 1196, 1214, 1216.) We review an
order denying a new trial for an abuse of discretion; as part of
that task, we must independently assess whether any error was
“prejudicial.” (City of Los Angeles v. Decker (1977) 18 Cal.3d 860,
871-872; Jackson, at pp. 1213, 1216.) That is, it must be
“reasonably probable” that the party asserting attorney
misconduct “‘“would have achieved a more favorable result in the
absence”’” of the challenged misconduct. (Jackson, at p. 1216;
Rayii v. Gatica (2013) 218 Cal.App.4th 1402, 1411.)
       C.    Analysis
       We conclude that the trial court did not err in denying
plaintiff a new trial based on attorney misconduct.
       There was no misconduct. At trial, Wortman and Bennett
testified that plaintiff owed nearly $60,000 to the Association and
that her refusal to pay that outstanding debt had jeopardized the
Association’s solvency. Their testimony is sufficient by itself to




                                 24
establish those facts (Evid. Code, § 411); defense counsel’s failure
to offer corroborative evidence from the “Microsoft Money”
records does not render the otherwise sufficient testimony
somehow false. Moreover, at no point did defense counsel elicit or
present any false evidence regarding the accessibility—or,
frankly, even the existence—of data stored in the “Microsoft
Money” software; the debt plaintiff owed to the Association came
up during plaintiff’s cross-examination of the witnesses. (De
Anza Santa Cruz Mobile Estates Homeowners Assn. v. De Anza
Santa Cruz Mobile Estates (2001) 94 Cal.App.4th 890, 908 [“The
doctrine of invited error applies . . . ‘when a party by its own
conduct induces the commission of error’”].) At bottom, plaintiff’s
attack on the accessibility of the data through the “Microsoft
Money” software is an impermissible collateral attack on the
foreclosure settlement because she is asserting that, without the
software data, she owes nothing (notwithstanding the
settlement’s terms to the contrary). (See Madrigal v. Hyundai
Motor America (2023) 90 Cal.App.5th 385, 402-403 [parties’ use of
Code of Civil Procedure section 664.6 to memorialize settlement
renders settlement the “functional equivalent” of a “final, formal
judgment”]; Citizens for Open Access etc. Tide, Inc. v. Seadrift
Assn. (1998) 60 Cal.App.4th 1053, 1065-1066 [settlement
incorporated into judgment was final judgment for res judicata
purposes].)
       Even if we assume that defendants’ counsel engaged in
misconduct, that misconduct was not prejudicial. That is because
the handful of references at trial to the amount plaintiff
originally owed the Association had no bearing on the success (or
lack thereof) of plaintiff’s claims. Plaintiff’s claims failed for
entirely different reasons—namely, because the evidence




                                25
established (and plaintiff does not dispute) that (1) she never
complained of any water damage to her condo, so the Association
was not liable for fixing a problem of which it had no knowledge;
(2) Wortman and Bennett owed fiduciary duties to the
Association, not to the individual owners; and (3) any
misappropriation by Wortman would have given rise to a
derivative action, not to an individual action by plaintiff.
Plaintiff’s foreclosure settlement with the Association was not at
issue at trial.
       Plaintiff responds with what boils down to two categories of
arguments.
       First, she denies that she is collaterally attacking the
foreclosure settlement because, in her view, her waiver of claims
in that agreement did not extend to the fines issued by the
Association. This is a blatant misreading of the settlement. The
settlement states that plaintiff waives her claims related to
“Assessments owed through an[d] including August 2017,” and
defines “Assessments” as “the assessments, fines, late charges
and interest” assessed against plaintiff (italics added). Plaintiff
points to the testimony of an expert at trial that the industry
meaning of “assessment” does not include fines for violations of
the CC&amp;Rs, but this testimony cannot contradict the plain terms
of the agreement. (Cal. Lettuce Growers v. Union, Inc. Sugar Co.
(1955) 45 Cal.2d 474, 482 [industry standards cannot “‘alter or
vary the terms of [a] contract’”].)
       Second, plaintiff argues that defendants’ unsupported
assertion at trial that she had owed the Association nearly
$60,000 was prejudicial because it “cast her in a negative light”
and “diminish[ed] her credibility.” We reject the invitation to
reweigh the jury’s credibility determination, especially when




                                26
there was other overwhelming evidence at trial impeaching
plaintiff’s credibility. (Caden C., supra, 11 Cal.5th at p. 640
[reviewing court may not “‘evaluate the credibility of
witnesses’”].)
                           DISPOSITION
      The judgment is affirmed. Defendants are entitled to their
costs on appeal.
      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS.



                                     ______________________, J.
                                     HOFFSTADT

We concur:



_________________________, Acting P. J.
ASHMANN-GERST



_________________________, J.
CHAVEZ




                                27
